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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF ILLINOIS


  CHEMETCO SITE PRP GROUP,                               )
                                                         )
                  Plaintiff,                             )
                                                         )
           v.                                            )    Civil Action No. 18-179-SMY-SCW
                                                         )
  A SQUARE SYSTEMS, INC., et al.,                        )
                                                         )
                  Defendants.                            )

                       NOTICE OF VOLUNTARY DISMISSAL OF
                DEFENDANT LIGHTING RESOURCES LLC WITH PREJUDICE

           Plaintiff Chemetco Site PRP Group, through counsel and pursuant to Federal Rule of

  Civil Procedure 41(a)(1)(A)(i), voluntarily dismisses Defendant Lighting Resources LLC from

  this cause with prejudice. Lighting Resources LLC has not filed an answer or motion for

  summary judgment in this cause.

  Dated:     April 30, 2018                    Respectfully submitted,

                                               THE JUSTIS LAW FIRM LLC


                                               /s/ Rachel D. Guthrie
                                               Gary D. Justis                 admitted in S.D. Ill.
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                                               ATTORNEYS FOR PLAINTIFF CHEMETCO
                                               SITE PRP GROUP
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                                    CERTIFICATE OF SERVICE

          I hereby certify that on April 30, 2018, a copy of the foregoing Notice of Voluntary

  Dismissal of Defendant Lighting Resources LLC with Prejudice was filed electronically. Notice

  of this filing will be sent to all parties by operation of the Court’s electronic filing system. Parties

  may access the filing through the Court’s Electronic Case Filing System.

                                                  /s/ Rachel D. Guthrie
                                                  Rachel D. Guthrie




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